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                                                                                   11/06/2020
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------x
                                                              :
  OCTALUNA LLC, ET AL.,
                                                              :
                                                  Plaintiffs,
                                                              :
                                                              :       1:20-cv-05540 (ALC)
                     -against-
                                                              :
                                                              :       ORDER
   RM ACQUISITION, LLC,
                                                              :
                                                              :
                                                Defendant.
                                                              :
                                                              :
------------------------------------------------------------x :

ANDREW L. CARTER, JR., United States District Judge:

         Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff’s

voluntary dismissal of the above-captioned action, with prejudice, ECF Nos. 26-27, is

GRANTED.

SO ORDERED.

Dated:           November 6, 2020
                 New York, New York                             _______________________________
                                                                 HON. ANDREW L. CARTER, JR.
                                                                    United States District Judge




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